






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00019-CR






In re Leon Justice




Stephen Michaelwicz, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 002250, HONORABLE JON N. WISSER, JUDGE PRESIDING






O R D E R   T O   S H O W   C A U S E


PER CURIAM

This is a contempt proceeding ancillary to Stephen Michaelwicz's appeal from a
judgment of conviction for murder.  The subject of this proceeding is Leon Justice, court reporter
for the 299th District Court.

The reporter's record was originally due to be filed on February 9, 2004.  The time
for filing the record was extended to May 14, 2004, at the reporter's request.  On June 15, 2004, this
Court ordered the reporter to tender the record for filing in this cause no later than July 9, 2004.  He
failed to file the record as ordered.

Leon Justice is hereby ordered to appear in person before this Court on the 8th day
of September, at 8:30 o'clock a.m., in the courtroom of this Court, located in the Price Daniel, Sr.
Building, 209 West 14th Street, City of Austin, Travis County, Texas, then and there to show cause
why he should not be held in contempt and sanctions imposed for his failure to obey the June 15,
2004, order of this Court.  This order to show cause will be withdrawn and the said Leon Justice will
be relieved of his obligation to appear before this Court as above ordered if the Clerk of this Court
receives the reporter's record by September 3, 2004.

It is ordered August 13, 2004.


Before Chief Justice Law, Justices B. A. Smith and Pemberton

Do Not Publish


